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                                                                                        Eve L. Hill
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                                        November 20, 2018


The Honorable Theodore Chuang
U.S. District Court
for the District of Maryland
101 W. Lombard Street
Baltimore, Maryland 21202

         Re:    The National Federation of the Blind, et al. v.
                U.S. Department of Education, et al.
                Civil Action No.: 1:18-cv-01568-TDC

                   Notice regarding filing of Motion for Preliminary Injunction

Dear Judge Chuang:

        Pursuant to your Case Management Order of May 31, 2018, we write to request a pre-
motion conference with the Court. We request permission to file a Motion for Preliminary
Injunction to enjoin Defendants from continuing to use the amended versions of the rules cited in
the Complaint and to reinstate the complaints dismissed pursuant to or in reliance on those
provisions. Plaintiffs are prepared to satisfy the four-prong test articulated by this court to
demonstrate that a preliminary injunction is appropriate, including demonstrating irreparable harm
from continuing to allow Defendants to use the new rules.

         We look forward to speaking with you about the filing of this Motion.

                                               Sincerely,



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